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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


MARIE WILLIAMS ET AL.                                                            CIVIL ACTION

VERSUS                                                                                 No. 15-3543

AT&T CORPORATION                                                                      SECTION I


                                          JUDGMENT

       Considering the Court’s previous order granting summary judgment for defendant,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that there be judgment in

favor of defendant and against plaintiffs, and that all of plaintiffs’ claims in the above-captioned

matter be DISMISSED WITH PREJUDICE, each party to bear its own costs.



       New Orleans, Louisiana, March 9, 2016.



                                                  _______________________________________
                                                            LANCE M. AFRICK
                                                     UNITED STATES DISTRICT JUDGE
